                            •                                          •
                                                                                                            Exhibit "A"



                                                )       CASE NO. 03-E-3375
                                               )
               Plaintiff                       )        JUDGE
                                                                                 2004 ... 0.1- (J.ti'3
                                               )
                                               )
                                                                          ASSIGNED TO JUDGE SHAPIRO
vs.
                                               )
KENNETH B. KREITZBURG                          )
                                               )
                Defendant                      )
                                                        (Jury Demand Endorsed Hereon)

       Now comes Defendant, Kenneth B. Kreitzburg (''Kreitzburg"), and for his Answer to the

Complaint filed herein by Plaintiff, does hereby admit, deny, state and allege as follows;



        t,     Kreitzburg admits the allegations set forth in Paragraphs 1 and 2 of the Complaint.

       2.       Kreitzburg denies each and evexy allegation set forth in Paragraphs 3 through 7 of the

Complaint.

        3.     Kreitzburg denies each and every allegation set forth in the Complaint which is not

herein expressly admitted to be true.

                                    AFFiRMATIVE DEFENSES

        1.      As his First Affirmative Defense, Kreit7.burg states that the Complaint fails to state a

claim upon which relief may be granted.

        2.      As hls Second Affirmative Defense, Kreitzburg states that the claim which Plaintiff

attempted to set forth in the Complaint is barred in whole or in part by reason ofthe fact that Plaintiff

had falsely imprisoned and unlawfUlly detained Kreitzburg by blocking .Kreitzburg's vehicle in a




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         driveway and failing and refusing to permit Kreitzburg to leave and thereby forcing and justifYing

         Kreitzburg to use reasonable force to secure his freedom from and depart the presence ofPlaintiff.

                3.      As his Third Affirmative Defbnse, Kreitzburg states that the claim which Plaintiff

         attempted to set forth in the Complaint is barred in whole or in part under the doctrines of

         provocation, serious provocation, self defense. justification, sudden passion and/or fit of rage,

                                                 COlJNIER,CLAIM

                For his Counterclaim against Plaintiff, James R Bums, dba Brookstone. Ltd, ("Bums" or

         "Plaintl:ff''), Kreitzburg does hereby make the following averments. statements and allegations:

                                                  INTR.QDUCTION

                 1,     During February, 2002, KBK Carpentry, Inc, ("KBK"). an Ohio corporation wholly

         owned by Kreitzburg, and Burns entered into an agreement ("Agreement'') pursuant to which they

         agreed to merge their construction businesses into a general partnership ("Partnership"), the purpose

         of which Partnership was to carry on a residential/home improvement construction business, the

         acquisition of a building located at 1696 East Market    Str~,~Ct,   Akron, Ohio ("Building"), and the

         development of three parcels of property allegedly owned by Bums.

                2,      In order to induce Kreitzburg to cause KBK to enter into the Partnership, Bums made

         the following material .misrepresentations to Kreitzburg and KBK:

                        (a)     That 'Bums had entered into a lease entitling him to purchase the Building;

                        (b)     That Bums owned three parcels of real property that would be developed by

         the Partnership;

                        (c)     That 'Bums owned and operated satellite offices in Pittsburgh, Pennsylvania,

         Virginia 'Beach, Virginia, Murphy Burrow, Tennessee, and Reno, Nevada;

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                        (d)
                                   •
                                That Burns had a college d~ in accounting; and
                                                                               •
                        (e)     That Bums would "be upfront" with KBK and Kreitzburg in the operation of

         the business of the Partnership.

                 3.     In addition, in order to induce Krcitzburg to cause KBK to enter into the Partnership,

         Burns concealed from Krcitz:burg and KBK the faCt that Bums had continuing, severe financial

         difficulties stemming from a personal bankruptcy that had been .filed by him.

                4.      From and after tbe formation of the Partnership, and without authority from KBK or

         Kreitzburg to do so, Bums ordered in Krcitzburg's name, took delivery of: converted to his own use

         and purposes and failed to pay for, several thousands of dollars of construction materials sold and

         delivered by Carter-Jones Lumber Co., 84 Lun1ber, Modem Builders Supply, Inc. and other materials

         suppliers, all as directed by Burns.

                 5.      As a result of such materials being ordered and converted without authority or

         payment as aforesaid, Krcitzburg has had litigation initiated and/or threatened against hlm by several

         of said materials suppliers and has been forced to expend his peroonal.fi.mds to resolve said complaints

         by such suppliers.

                 6.      During February, 2002, Kreitzburg and Bums entered into a verbal agreement

         pursuant to which Kreitzburg perfoffiled and/or provided trim work, flooring, tile, cabinetry m1d other

         labor and materials in connection with the construction of a 25' x 30' addition ("Addition") to certain

         property owned by Tara and Thomas Aidala ("Aidalas") and located at 3581 Charring Cross Drive.

         Stow, Ohio ("Property"), and Burns agreed to pay Kreitzburg for such work,

                 7.     The value of the work and materials performed and prorded by _Kreitzburg in

         completing the Addition is at least Nine Thousand Six Hundred Dollars ($9,600.00).

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                8.
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                        Kreitzburg perfonned all of his services under the verbal agreement with Burns in

         connection with the construction of the Addition, bas made due demand on Burns for payment

         promised to him for work and materials provided by him in connection with the construction of such

         Addition, and Burns bas failed and refused to pay Kreitzburg for the same.

                9.      As an excuse for his fuilure to make payment owing to Kreitzburg under the aforesaid

         verbal agreement for the construction of the Addition, Burns intel)tionally, knowingly and with intent

         to mislead Kreitzburg misrepresented to Kreitzburg that he had not been paid in full by the Aidalas

         for the construction of the Addition.

                 l 0.   ln justifiable reliance of such misrepresentation by Burns, Kreitzburg initiated suit

         against, incurred the unnecessary time and expenses of and ultimatejy dismissed a lawsuit against the

         Aidalas fbr unjust enrichment, which lawsuit could not be continued because it was learned in the

         discovery that the Aidalas had paid Bums in full for the Addition,

                                                    COUNIQNE
                 11,    Kreitzburg incorporates in this Count One, each and every one of the avennents,

         statements and allegations set forth in Paragraphs l through 10 of this Counterclaim.

                 12.    Bums' misrepresentations to Kreitzhurg and KBK regarding Burns, the Building, the

         properties allegedly owned by Bums and the satellite offices allegedly owned and operated by .Burns,

         and other misrepresentations made by Burns, were all false.

                 J3.    By failing to disclose to Kreitzburg and KBK that he had severe financial difficulties

         resulting from a previous bankruptcy, Burns falsely concealed and falsely misrepresented his financial

         condition from and to Kreitzburg and KBK.




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                14.
                                   •
                         Said concealment and misrepresentations were made by Bums knowingly, willfully,

        maliciously, intentionally and :fraudulently for the purposes of inducing Kreitzburg to cause KBK to,

        were material to the decision ofKreitzburg to cause KBK to, and were justifiably relied upon by

        Kreitzburg ln deciding and determining to cause KBK to enter into the Agreement for and the

        Partnership with Bums, and for the purpose of inducing, were material to and relied upon by

        Kreitzburg in determining and deciding to pursue litigation against the Aidalas.

                15.      As a direct and proximate result of the :fraudulent concealments and misrepresentations

        made by Bums, Kreitzburg has sustained compensatory, special and other damages in an amount to

        be adduced at the trial of this action and believed to be not tess than Fifty Thousand Dollars

        ($50,000.00).

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                16.      Kreitzburg incorporates in this Count Two, each and every one of the averments,

        statements and allegations set forth in Paragraphs 1 through 15 of this Counterclaim.

                17.      Bums was without authority to contract using the credit of Kreitzburg for the

        purchase of products from the material suppliers.

                18.       As a result of Bums having so contracted with such suppliers, and as a result of

        Bums having failed and refused to pay the amount of the purchase price for the goods delivered to

        him by such suppliers, the credit ofKreitzburg has been damaged and Kreitzburg has incurred costs

        and expenses necessary to defend against litigation threatened and/or initiated by such suppliers.

                J9.      As a direct and proximate result of the aforesaid wrongful acts and omissions by

        Burns, Kreitzburg has sustained compensatory, special and other damages in an amount to be

        adduced at the trial of this action and believed to be not less than Twenty Thousand Dollars

        ($20, 000.00).

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                                   •              COUNT THREE
                                                                             •
                20.     Kreit:zburg incorporates in this Count Three, each and every one of the averments,

         statements and allegations set forth in Paragraphs 1 through 19 ofthls Counterclaim.

                21.     Krcitzburg has performed all of his obligations under the verbal agreement pursuant

         to which he provided materials and services in connection with the construction of the Addition at

         the Property for the Aidalas.

                22.     Burns has breached his agreement to pay Kreitzburg for the value of such services.

                23.     As a result of such breach by Bums, Kreitzburg has sustained compensatory damages

         in an amount to be adduced at the trial of the within action and believed to be not less than Nine

         Thousand Six Hundred Dollars ($9,600.00).

                WHEREFORE, having fully answered the Complaint, Kreit;;:burg prays that the Complaint

         be dismissed with prejudice at Plaintiff's cost, and that judgment by granted against Bums and in

         favor ofKreitzburg on the Counterclaim as follows;

                A       On Count One, for judgment in the amount of compensatory, special
                        and other damages to be adduced at the trial of this action and
                        believed to be not less than Fifty Thousand Dollars ($50,000.00), plus
                        punitive damages in the amount of One Hundred Fifty Thousand
                        Dollars ($150,000.00), plus interest thereon.

                B.      On Count Two, for judgment in the amount of compensatory, special
                        and other damages in an amount to be adduced at the trial of this
                        action and believed to be not tess than Twenty Thousand Dollars
                        ($20,000,00), plus interest thereon.

                C.      On Count Three, for judgment in the amount of compensatory
                        damages in an amount to be adduced at the trial of this action and
                        believed to be not less than Nine Thousand Six Hundred Dollars
                        ($9,600,00), plus interest thereon.




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                D.
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                       On all Counts, for judgment for Kreitzburg's attorney's fees and for
                       such other and further relief as this Court shall determine to be just
                       and equitable in the circumstances.



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                                                1URYDEMANP
                 Now comes Kreitzburg pursuant to Ohio Rule of Civil Procedure 38 and hereby demands trial
         by jury on all issues raised in the captioned action liS to w 1 there is a right to trial by jury.

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                                          CERTIFICATE Of SERVICE

                A copy of the foregoing was servetp.'Jy regular . mail upon James R. Bums, 1551
         Evergreen Drive, Aurora, Ohio 44301 on thl~u. day of Nove her, 2003 .
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